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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Milton Holmes, et al v DS Corp. d/b/a
Crossroads RV, et al., Case No. 2:10-cv-482
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Considering the foregoing Motion of Plaintiffs, Plaintiffs are allowed until August 2nd,

2010, or until __________________, 2010, to serve the Defendants.

       IT IS SO ORDERED that the Plaintiffs listed above be GRANTED the Motion for

Extension of Time to Serve.

       DATED this ____ day of _______________, 2010 in New Orleans, Louisiana.



                                             By:    ____________________________________
                                                    KURT D. ENGELHARDT
                                                    UNITED STATES DISTRICT JUDGE


Submitted By:
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